EXHIBIT 1
                          UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF WEST VIRGINIA
                                 AT CHARLESTON

CRYSTAL GOOD, et al.,

               Plaintiffs,                                   Civil Action No. 2:14-CV-01374

                                                             Consolidated with:

WEST VIRGINIA-AMERICAN WATER                                 Case No. 2:14-11011
COMPANY, et al.,                                             Case No. 2:14-13164
                                                             Case No. 2:14-13454
               Defendants.


                      MARCH 20, 2018 PERIODIC REPORT OF THE
                         SETTLEMENT ADMINISTRATOR

       COMES NOW the Settlement Administrator and files the March 20, 2018 Periodic

Report of the Settlement Administrator in response to the December 19, 2017 Order of this

Honorable Court [Doc. 1175]. This report provides the data requested by the Court based on the

compilation of information about claims filed timely electronically and hard copy claims timely

postmarked and received by the Settlement Administrator as of March 12, 2018. This report and

the attached Exhibit provides a breakdown of these claims in each of the ten types or categories,

together with a preliminary assessment of the gross “claimed” dollar amount (i.e., total amount

claimed by all claimants before any determination of actual compensable amounts under the

settlement terms) of claims filed in each of the ten types of categories as requested by the Court.

(Exhibit A provides the numbers in chart form).

       As of the date of this report, the Settlement Administrator has been able to compile and

categorize all claims. The claimed values reported for each category are gross claimed amounts

and are pending complete review by the Settlement Administrator. These are not approved

amounts. There were many claims filed without complete documentation (revenue

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documentation for business claims, claimed value and support for individual review claims,

identification numbers, etc.). In order to report the gross value for these claims on this report,

specific protocols were used. These protocols are explained in the subsequent section. The

gross claimed value will be affected by several tasks that are currently being completed as claims

are processed for eligibility. Specifically: (i) The Settlement Administrator must identify

duplicate claims. While some duplicate claims have been identified electronically based on

claim identification numbers on claim forms, there are additional steps to be taken to cull

duplicates. (ii) Many claims were filed without stating the claimed value or providing the

supporting documentation to support a claim that a business was ‘shut down’ (for simple claims)

or the computation of loss (for IR claims). These claimants will be sent deficiency notices, but

the lack of such information affects the computation of gross claimed value. (iii) The Settlement

Administrator must also consolidate claims that are filed by different individuals for the same

eligible address.

       To provide the gross claimed value for this Report, the Settlement Administrator has

applied the following protocol: For computing the value of simple residential claims, the

Settlement Administrator multiplied the number of claims by the estimated values set forth in the

notice -- $550 for an eligible residence including one household member plus $180 for each

additional resident -- and has assumed that the additional residents listed are not duplicative. For

simple business claims, the Settlement Administrator has valued the claims based on the

assertion on the forms – so that if a business identified itself as a business that was shut down

then the claim is categorized as such. For Individual Review claims that did not supply

supporting documentation, the Settlement Administrator assumed that such claims have a value

equal to the average value claimed by other claimants in the same category.



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       Based on the above assumptions, the Settlement Administrator reports as follows:

       The total number of households filing a claim is 86,917 with a claimed value based on

the estimated values in the notice of $70,397,607. Included in that number are: 70,496

residential simple claim forms from known customers of WVAW with a claimed value of

$38,772,800; 16,098 residential simple claim forms from other households not identified on the

customer list with a claimed value of $8,853,900; and 323 individual review claim forms with a

claimed value of $2,342,527. There is a total of 113,491 additional residents claimed on all

simple residential claims. The claimed value based on the estimated values in the notice of the

additional residents is $20,428,830.

       There are 23,098 residential class members on the known customer list that have not been

identified among those that have filed timely residential claims. Approximately 74% of residents

on the known customer list filed timely claims.

       The total number of all business claims filed is 5,683, with a claimed value of

$62,780,462 for all business claims. The total number of business simple claim forms filed for

shut down/partially shut down businesses is 1,256, with a claimed value based on the estimated

values in the notice of $23,824,288. The total number of simple business claim forms filed for

lodging businesses is 72 with a claimed value based on the estimated values in the notice of

$1,553,286. The total number of business simple claims filed for all other businesses is 4,079,

with a claimed value based on the estimated values in the notice of $7,648,125. There has been a

total of 276 business individual review claims filed, with a claimed value of $29,754,762.

       The total number of claims filed by government entities is 408, with a claimed value of

$12,264,148 for all government claims. 387 government entities have filed claims using the

simple business claim form. The aggregate claimed value of government entities that have filed



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simple business claims based on the estimated values in the notice is $725,625. Twenty-one

government entities have filed an individual review claim, with a total claimed value of

$11,538,523.

       The total number of wage earner claims filed is 500. The total claimed value of the wage

earner claims filed is $231,664.

       The total number of pregnancy claims filed is 1,302. The total claimed value of

pregnancy claims filed is $1,953,000.

       The total number of medical claims filed is 345. Included in that amount are: eight

claims for vision impairment with a total claimed value of $327,583; three claims for disability

with a total claimed value of $1,950,000; two claims for wrongful death with a total claimed

value of $1,500,000; and 332 claims in the “other medical” category with a total claimed value

of $7,697,843. The aggregate claimed value of medical claims filed is $11,475,426.12.

       The total number of timely claim forms received as of March 12, 2018 is 95,155.

Included in this total are 64,285 claims filed by mail and 30,870 filed by the on-line submission

process. These 95,155 claim forms include 203,001 individuals (89,064 primary, 113,937

additional residents), 5,683 businesses, and 408 government entities, including both simple and

individual review claims.

       Based on the methodology described above, the total claimed value of all simple claims

filed is $101,806,404. There are currently 23,098 residential customers that have not been

identified among those that have filed timely residential claims. Many residential customers filed

without including a claim identification number. We anticipate that some number of these will

be identified when residential claims are processed for eligibility. It is currently unknown




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whether any funds will be available after payment of simple claims to make payments to this

group.

         The total claimed value of all individual review claims is $57,295,902.

         The deadline to submit claims was February 21, 2018. The claims included in this report

are timely filed claims. Claims are considered timely if postmarked or received on or before the

claims submission deadline, or if submitted online through the website by 11:59 pm on the

claims submission deadline. Not included on this report are untimely filed claims. As of March

12, 2018, the Settlement Administrator has received 338 untimely filed claims.

         The Settlement Administrator has now filed all scheduled periodic reports in compliance

with the December 19, 2017 order. The Settlement Administrator will file any additional

periodic reports, at such times and as directed by this Honorable Court.

                                              Respectfully submitted:



                                              _______________________
                                              John S. Jenkins, CPA, CVA
                                              Smith Cochran & Hicks, PLLC
                                              3510 MacCorkle Ave SE
                                              Charleston WV 25304

                                              Settlement Administrator




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EXHIBIT A
                                                    EXHIBIT A TO MARCH 20, 2018 PERIODIC REPORT OF SETTLEMENT ADMINISTRATOR


                           Category                          Subtotals   Number of Claims   Claimed Value ‐ Simple ~1   Claimed Value ‐ IR ~2   Total Claimed Value
1. Households                                                                86,917                                                                $70,397,607
   1a. Simple Residential ‐ Known Customers                  70,496                               $38,772,800
   1b. Simple Residential ‐ Other                            16,098                                $8,853,900
   1c. Individual Review Residential                           323                                                          $2,342,527
   1d. Simple Residential ‐ Additional Residents             113,491                              $20,428,380
   1e. IR Residential ‐ Additional Residents                   446

2. Residential customers that did not file a claim             23,098
    (potentially reimbursed through Check Distribution Process)

3. Businesses                                                                 5,683                                                                $62,780,462
   3a. Simple Business ‐ Shut Down/Partially Shut Down        1,256                               $23,824,288
   3b. Simple Business ‐ Lodging                                72                                 $1,553,286
   3c. Simple Business ‐ All Other                            4,079                                $7,648,125
   3d. Individual Review Business                              276                                                          $29,754,762

4. Governments                                                                 408                                                                 $12,264,148
   4a. Simple Business                                         387                                 $725,625
   4b. Government Individual Review                             21                                                          $11,538,523

5. Wage Earners                                                                500                                           $231,664                $231,664

6. Wrongful Death                                                               2                                           $1,500,000              $1,500,000

7. Disability                                                                   3                                           $1,950,000              $1,950,000

8. Pregnancy                                                                  1,302                                         $1,953,000              $1,953,000

9. Vision impairment                                                            8                                            $327,583                $327,583

10. Other Medical                                                             332                                            $7,697,843            $7,697,843
Total Claims Filed Timely                                                    95,155              $101,806,404               $57,295,902           $159,102,307


~1 Claimed value for simple claims is calculated as the estimated payment amount identified in the notice multiplied by the number of households,
businesses, or additional residents. Claimed value for shut down/partially shut down businesses and lodging businesses were calculated using the
estimated uniform payment amounts identified in the notice as applied to revenue documentation provided. If revenue documentation was not provided
for shut down or lodging business, the average claimed value per category was used for purposes of reporting claimed value on this report. All amounts
represent as‐filed amounts and are pending review by the Settlement Administrator
~2 Claimed value for pregnancy claims is calculated as the estimated payment amount identified in the notice multiplied by the number of pregnancy
claims. Claimed value for all other individual review claims is the amount claimed on the claim form. If documentation provided was not complete and
claimed value could not be determined, the average claimed value per category was used for purposes of reporting claimed value on this report. All
amounts represent as‐filed amounts and are pending review by the Settlement Administrator
